Case 2:04-cv-02102-.]PI\/|-STA Document 21 Filed 05/13/05 Page 1 of 2 Page|D 35

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IN THE UNITED sTATEs nrsTRch coURT ~ …-QL.

FOR THE WESTERN DISTRICT OF TENNESSEE

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JULIA J. McMILLIAN,

 

Plaintiff,

v. NO. 04-2102 Ml/An
RONNIE L. EVATT and
CENTRAL INDUSTRIAL ELECTRIC
COMPANY, INC-r

vvvvi_r\.¢v\-¢Vh.d\-»¢

Defendants.

 

ORDER RESETTING TRIAL DATES

 

In accordance with the Order Granting Plaintiff's Motion to
Extend Deadlines, the Court hereby RESETS the trial dates in this
case as follows:

Trial: Mondav, November 28, 2005, at 9:30 a,m.
Pretrial Conference: Fridav November 18, 2005, at 8:45 a.m.

Pretrial Order: Thursdav, November lO, 2005, bv 4:30 D.m.

SO ORDERED this path day of May, 2005.

W w

JO P. MCCALLA
ITED STATES DISTRICT JUDGE

  
 

Th£s document entered on me docket Sheet in compliance

with nme 53 and/or 79(@) FHCP on _5"|9_:9€ _"_

 

srs

RNDI

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This notice confirms a copy of the document docketed as number 21 in
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

